Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 1 of 6 PageID# 8030




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

     UNITED STATES, et al.,

                          Plaintiffs,

            vs.                                             No: 1:23-cv-00108-LMB-JFA

     GOOGLE LLC,

                          Defendant.



           JOINT MOTION FOR AN ORDER REGARDING EXPERT DISCOVERY

           PURSUANT TO Rule 16(b)(4) of the Federal Rules of Civil Procedure and Local Civil

 Rule 16(B), Defendant Google LLC (“Google”) and the Plaintiffs seek leave for Plaintiffs to file

 a supplemental expert report and for the parties to complete two expert depositions, one by

 Plaintiffs and one by Google, after the expert discovery cut-off, now set as March 8, 2024

 (Docket No. 440). The grounds and reasons for granting this relief are stated below.

           1.     On February 5, 2024, Plaintiffs notified Google that one of Google’s experts had

 cited and relied on certain data in his report that they believed that they did not have in their

 possession (the “Google Data”).1 It is Google’s position that the Google Data is a subset of data

 that Google produced to Plaintiffs, and the parties agree that Google provided the Google Data to

 Plaintiffs in the form requested on February 6, 2024.       The parties then met and conferred

 regarding the manner in which the Google Data could be used by Plaintiffs’ expert and related

 issues.




 1
  The Google Data bears Bates numbers GOOG-AT-MDL-DATA-000561426 to
 GOOG-AT-MDL-DATA-000561535 and GOOG-AT-MDL-DATA-000561425.
                                                  1
Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 2 of 6 PageID# 8031




           2.    Having reached agreement, the parties respectfully request that the Court allow

 the adjustments described below to the expert discovery schedule.

      I.   Supplemental Expert Report

           3.    The parties request leave for Plaintiffs’ expert to submit a supplemental expert

 report on or before March 4, 2024 to address the following portions of Google’s expert’s report

 to the extent that those portions rely upon the Google Data: Table 8, Figures 45, 51, 70, and 141,

 a bullet point on page 30, footnotes 420 and 855, and paragraphs 279-280, 312, 326-328,

 330-332, 541-542, and 594, and any footnotes related to those paragraphs.

           4.    Plaintiffs’ expert’s supplemental report may also contain analyses that rely on the

 Google Data, as long as the Google Data is essential to the analysis.2

           5.    The parties request that they be permitted to make use of Plaintiffs’ supplemental

 report as if it had been served on or before February 13, 2024.

     II.   Expert Depositions

           6.    The parties request leave of Court to conduct two expert depositions—one of each

 side’s relevant expert—at mutually agreed-upon dates and times after March 8, 2024, but no later

 than March 15, 2024.

           7.    This extension will allow the parties to depose each other’s expert, including on

 any opinions or analyses that are part of the supplemental expert report.

           8.    The parties request that they be permitted to make use of these depositions as if

 they had been completed on or before March 8, 2024.




 2
   Google Data will be considered essential to an analysis if the analysis could not be run without
 incorporating the Google Data.
                                                  2
Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 3 of 6 PageID# 8032




 III.   Good Cause for Granting Relief

        9.      Generally, when a party seeks to modify the scheduling order, the Court must

 consider whether there is any “danger of prejudice to the non-moving party, the length of delay

 and its potential impact on judicial proceedings, the reason for the delay, and whether the movant

 acted in good faith.” Roe v. Howard, No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, at *1-2

 (E.D. Va. June 30, 2017). Furthermore, a showing of “good cause” to modify the scheduling

 order “requires ‘the party seeking relief [to] show that the deadline cannot reasonably be met

 despite the party’s diligence.’” Cook v. Howard, 484 Fed. Appx. 805, 815 (4th Cir. 2012) (per

 curiam) (citations omitted); accord Fed. R. Civ. P. 16, 1983 Adv. Comm. Notes (the movant must

 show that the current deadlines “cannot reasonably be met despite the diligence of the party

 seeking” the modification). The parties submit that good cause exists under this test to justify

 extending the current schedule for expert discovery.

        10.     The good cause factors favor allowing the adjustments described above to the

 current schedule for expert discovery. First, there will be no prejudice to another party. Second,

 this discovery is expected to be completed promptly and will not impede the rest of the schedule.

 Third, under the circumstances, it is not feasible to complete this discovery prior to the current

 expert discovery cut-off.   The parties have acted in good faith and submit that this limited

 extension will further resolution of issues in this case on the merits. Accordingly, good cause

 exists to allow Plaintiffs to serve a supplemental report on or before March 4, 2024 as described

 in paragraphs 3 and 4 above, and for the parties to conduct these expert depositions after March

 8, 2024 and on or before March 15, 2024.

        WHEREFORE, Google and the Plaintiffs request that the Court grant this motion for

 leave for Plaintiffs to serve a supplemental report on or before March 4, 2024. The parties



                                                 3
Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 4 of 6 PageID# 8033




 further request that the Court grant this motion to allow the parties to use Plaintiff’s

 supplemental report as if it had been served on or before February 13, 2024. The parties further

 request that the Court grant this motion for leave to complete two expert depositions after the

 close of expert discovery and to allow the parties to use these depositions as if they had occurred

 on or before March 8, 2024. A proposed order is submitted herewith.

        The parties waive oral argument on this procedural motion.




                                                 4
Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 5 of 6 PageID# 8034




 Dated: February 23, 2024                  Respectfully submitted,

 Eric Mahr (pro hac vice)                   /s/ Craig C. Reilly
 Julie S. Elmer (pro hac vice)             CRAIG C. REILLY (VSB # 20942)
 Andrew J. Ewalt (pro hac vice)            209 Madison Street
 FRESHFIELDS BRUCKHAUS                     Alexandria, VA 22314
 DERINGER US LLP                           Telephone: (703) 549-5354
 700 13th Street NW, 10th Floor            Facsimile: (703) 549-5355
 Washington, DC 20005                      craig.reilly@ccreillylaw.com
 Telephone: (202) 777-4500
 Facsimile: (202) 777-4555                 Karen L. Dunn (pro hac vice)
 eric.mahr@freshfields.com                 Jeannie Rhee (pro hac vice)
 julie.elmer@freshfields.com               William Isaacson (pro hac vice)
 andrew.ewalt@freshfields.com              Amy J. Mauser (pro hac vice)
                                           PAUL, WEISS, RIFKIND, WHARTON &
 Justina Sessions (pro hac vice)           GARRISON LLP
 FRESHFIELDS BRUCKHAUS                     2001 K Street NW
 DERINGER US LLP                           Washington, DC 20006
 855 Main Street                           Telephone: (202) 223-7300
 Redwood City, CA 94063                    Facsimile: (202) 223-7420
 Telephone: (650) 618-9250                 kdunn@paulweiss.com
 justina.sessions@freshfields.com          jrhee@paulweiss.com
                                           wisaacson@paulweiss.com
 Daniel S. Bitton (pro hac vice)           amauser@paulweiss.com
 AXINN, VELTROP & HARKRIDER LLP
 55 2nd Street                             Bradley Justus (VSB # 80533)
 San Francisco, CA 94105                   David Pearl (pro hac vice)
 Telephone: (415) 490-2000                 AXINN, VELTROP & HARKRIDER LLP
 Facsimile: (415) 490-2001                 1901 L Street NW
 dbitton@axinn.com                         Washington, DC 20036
                                           Telephone: (202) 912-4700
                                           Facsimile: (202) 912-4701
                                           bjustus@axinn.com
                                           dpearl@axinn.com

                                           Counsel for Google LLC




                                       5
Case 1:23-cv-00108-LMB-JFA Document 545 Filed 02/23/24 Page 6 of 6 PageID# 8035




                                       FOR PLAINTIFFS:

 JESSICA D. ABER                                  JASON S. MIYARES
 United States Attorney                           Attorney General of Virginia

 /s/ Gerard Mene                                  /s/ Andrew Ferguson
 GERARD MENE                                      ANDREW N. FERGUSON
 Assistant U.S. Attorney                          Solicitor General
 2100 Jamieson Avenue                             STEVEN G. POPPS
 Alexandria, VA 22314                             Deputy Attorney General
 Telephone: (703) 299-3777                        TYLER T. HENRY
 Facsimile: (703) 299-3983                        Assistant Attorney General
 Email: Gerard.Mene@usdoj.gov
                                                  Office of the Attorney General of Virginia
  /s/ Julia Wood                                  202 North Ninth Street
 JULIA TARVER WOOD                                Richmond, VA 23219
 /s/ Michael Freeman                              Telephone: (804) 692-0485
 MICHAEL J. FREEMAN                               Facsimile: (804) 786-0122
 /s/ Brent Nakamura                               Email: thenry@oag.state.va.us
 BRENT K. NAKAMURA
                                                  Attorneys for the Commonwealth of
 United States Department of Justice              Virginia and local counsel for the
 Antitrust Division                               States of Arizona, California,
 450 Fifth Street NW, Suite 7100                  Colorado, Connecticut, Illinois,
 Washington DC 20530                              Michigan, Minnesota, Nebraska,
 Telephone: (202) 307-0077                        New Hampshire, New Jersey, New York,
 Facsimile: (202) 616-8544                        North Carolina, Rhode Island,
 Email: Julia.Tarver.Wood@usdoj.gov               Tennessee, Washington, and West
 Email: Michael.Freeman@usdoj.gov                 Virginia

 Attorneys for the United States




                                              6
